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 6   Attorneys for Non-Party Lyft, Inc.

 7
                                UNITED STATES DISTRICT COURT
 8
                              NORTHERN DISTRICT OF CALIFORNIA
 9
                                            OAKLAND DIVISION
10
11
12   EPIC GAMES, INC.,                                Case No. 4:20-cv-05640-YGR-TSH

13                                                    DECLARATION OF MOJIN CHEN IN
            Plaintiff, Counter-Defendant,             SUPPORT OF NON-PARTY LYFT,
14                                                    INC.’S ADMINISTRATIVE MOTION TO
              v.                                      FILE UNDER SEAL PORTIONS OF
15                                                    TRIAL EXHIBITS
     APPLE, INC.,
16
             Defendant, Counterclaimant.              The Hon. Yvonne Gonzalez Rogers
17
                                                      Trial: May 3, 2021
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     DECLARATION OF MOJIN CHEN IN SUPPORT OF LYFT INC.’S MOTION TO SEAL PORTIONS OF TRIAL
                                          EXHIBITS
       Case 4:20-cv-05640-YGR Document 550-2 Filed 04/30/21 Page 2 of 2



 1   I, Mojin Chen, declare as follows:

 2           1.     I am a Product Management Lead for Lyft, Inc. 's ("Lyft") Membership Program.

 3   I am familiar with the facts set forth herein and, if called to testify, could and would competently

 4   testify thereto under oath.

 5           2.     Pursuant to Local Rule 79-5, I submit this declaration in support ofLyft's

 6   Administrative Motion to Seal Portions of Trial Exhibits.

 7           3.      PX-0201, PX-2061, and PX-2240 are attached to this declaration as Exhibits A,

 8   B, and C, respectively. I understand that the motion explains why these are partially redacted.
 9           4.      I have reviewed the exhibits. Page 4 of Exhibit A, pages 4-5 of Exhibit B, and
10   pages 4-5 of Exhibit C contain non-public information about Lyft's business strategy;

11   specifically, the exhibits contain information about past iterations of Lyft's subscription plans,

12   and how Lyft has valued aspects of these plans financially. Lyft considers this information to be

13   confidential and highly valuable.

14           5.      This information is maintained as confidential at Lyft, and certainly would never

15   be shared with competitors. The financial performance of Lyft's subscription and membership

16   programs is kept confidential internally at Lyft, and is only made available to certain employees

17   within Lyft.

18           6.      The information was provided to Apple solely for the purpose of negotiations

19   with Apple, with an understanding that the information would be kept confidential.

20           7.      Lyft would face competitive harm should the relevant excerpts of the exhibits be

21   made public. These excerpts contain information about strategy, revenues, and decision-making.

22   If made public, competitors could use this non-public and confidential info~ation       about Lyft's

23   business strategies to harm Lyft in the marketplace and in negotiations.

24           Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

25   and correct and that I executed this declaration on April 30, 2021 in San Francisco, California.

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      DECLARATION OF MOJIN CHEN IN SUPPORT OF L YFT INC. 'S MOTION TO SEAL PORTIONS OF TRIAL
                                           EXHIBITS
